     Case 2:23-cv-01228-ART-BNW Document 20 Filed 05/31/24 Page 1 of 1



 1
                            UNITED STATES DISTRICT COURT
 2
                                  DISTRICT OF NEVADA
 3
      BILLY JOVAN SAIZ,                              Case No. 2:23-cv-01228-ART-BNW
 4
                                   Petitioner,                  ORDER
 5          v.
 6    BRIAN E. WILLIAMS, SR.,
 7                             Respondents.
 8
           Petitioner Billy Jovan Saiz has filed an unopposed motion for extension of
 9
     time. (ECF No. 19.) This is Saiz’s first request for an extension of this deadline.
10
     The Court finds good cause exists to grant the motion.
11
           It is therefore ordered that the unopposed motion for extension of time (ECF
12
     No. 19) is granted. Saiz has up to and including August 5, 2024, to file his first-
13
     amended petition.
14
           Dated this 31st day of May 2024.
15

16

17

18                                         ANNE R. TRAUM
                                           UNITED STATES DISTRICT JUDGE
19
20

21

22

23

24

25

26

27

28


                                                 1
